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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  NOMAD SURFBOARDS, INC. d/b/a
  NOMAD SURF SHOP, a Florida
  for-profit corporation,

        Defendant.
  ________________________________/

                                            COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant NOMAD

  SURFBOARDS, INC. d/b/a NOMAD SURF SHOP, a Florida for-profit corporation, and alleges as

  follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

  This also is an action for declaratory and injunctive relief, damages, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of the Rehabilitation Act of

  1973, 29 U.S.C. §794, et seq. (“Rehab Act”).

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.
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         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”). Plaintiff is also expressly authorized to bring this case as an otherwise

  qualified person with a disability under the Rehab Act, 29 U.S.C. §§794(a)(2) and 794(b)(3)(A),

  and under Section 505-f of the Rehab Act which enforces Section 504 of the Rehab Act, 29 U.S.C.

  §§794 and 794a, incorporating the rights and remedies set forth in Title VI of the Civil Rights Act

  of 1964, 42 U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been visually impaired and physically

  disabled who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”). As a

  result of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body as

  a whole and only has very limited use of his left hand. Further as a consequence of his disease,

  Plaintiff has developed optic neuritis and is visually disabled, with complete blindness in one eye

  and very limited vision in the other eye. Plaintiff thus is substantially limited in performing one

  or more major life activities, including, but not limited to, seeing and accurately visualizing his

  world and adequately traversing obstacles. As such, he is a member of a protected class under the

  ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR

  §§36.101, et seq., and in 42 U.S.C. §3602(h). Plaintiff is also an otherwise qualified individual

  with a disability who has been denied the benefits of a program or activity receiving federal

  financial assistance and is thus covered by the Rehab Act, 29 U.S.C. §794(a). Plaintiff further is

  an advocate of the rights of similarly situated disabled persons and is a “tester” for the purposes of

  asserting his civil rights and monitoring, ensuring, and determining whether places of public



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  accommodation and/or the recipients of federal financial assistance and/or their respective and

  associated websites are in compliance with the ADA, the Rehab Act, and any other applicable

  disability laws, regulations, and ordinances.

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available screen reader software. Screen reader software translates

  the visual internet into an auditory equivalent. At a rapid pace, the software reads the content of a

  webpage to the user. “The screen reading software uses auditory cues to allow a visually impaired

  user to effectively use websites. For example, when using the visual internet, a seeing user learns

  that a link may be ‘clicked,’ which will bring her to another webpage, through visual cues, such

  as a change in the color of the text (often text is turned from black to blue). When the sighted user's

  cursor hovers over the link, it changes from an arrow symbol to a hand. The screen reading

  software uses auditory – rather than visual – cues to relay this same information. When a sight

  impaired individual reaches a link that may be ‘clicked on,’ the software reads the link to the user,

  and after reading the text of the link says the word ‘clickable.’…Through a series of auditory cues

  read aloud by the screen reader, the visually impaired user can navigate a website by listening and

  responding with her keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL

  6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a Florida for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls a retail store that

  Plaintiff had patronized and/or intended to patronize in the near future located at 4655 North Ocean

  Boulevard, Boynton Beach, Florida. Defendant also owns, leases, leases to, and/or operates a

  business operating in Florida that is the recipient of federal financial assistance as a whole within

  the meaning of Rehab Act, 29 U.S.C. §794(b)(3)(A)(i). See attached Exhibit “A”.



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         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet. Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and to thereby access and comprehend websites, Plaintiff uses commercially

  available screen reader software to interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a retail store under the name “Nomad Surf Shop.” The Nomad Surf Shop

  store is open to the public. As the owner and operator of this retail store, Defendant is defined as

  a place of “public accommodation" within meaning of Title III because Defendant is a private

  entity which owns and/or operates “a bakery, grocery store, clothing store, hardware store,

  shopping center, or other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R.

  §36.104(2).

         11.     Because Defendant is a store open to the public, it is a place of public

  accommodation subject to the requirements of Title III of the ADA, 42 U.S.C. §12182,

  §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

         12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://nomadsurf1968.com (the “Website”). One of the functions of the Website is to provide the

  public information on Defendant’s store that sells its merchandise within the State of Florida.

  Defendant also sells to the public its merchandise through the Website, which acts as a critical

  point of sale for the purchase of merchandise from and in Defendant’s physical store.




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         13.     The Website also services Defendant’s physical store by providing information on

  its available merchandise, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise also available for purchase in and

  from the physical stores, purchase gift cards for use in the physical stores, arrange in-store and

  curbside pickups of merchandise purchased online, and sign up for an emailer to receive exclusive

  online offers, benefits, invitations, and discounts for use online and in the physical stores, the

  Website has a nexus to, and is an extension of and gateway to, the goods, services, privileges, and

  advantages of Defendant’s physical stores, which are places of public accommodation under the

  ADA. Because of this nexus, and as an extension of and necessary service, privilege, and

  advantage provided by a place of public accommodation as defined under the ADA, the Website

  is an extension of the services, privileges, and advantages made available to the general public by

  Defendant at and through its brick-and-mortar location and business. Furthermore, the Website is

  a necessary service and privilege of Defendant’s physical store in that, as a critical point of sale

  for Defendant’s store, it enables users of the Website to make online purchases of Defendant’s

  merchandise that is also available from and in its physical store.

         15.     Because the public can view and purchase Defendant’s goods through the Website

  that are also offered for sale in Defendant’s physical stores, thus having the Website act as a point

  of sale for Defendant’s products that are also sold in the physical stores, purchase gift cards to

  make purchases both online and in the physical stores, arrange in-store and curbside pickups of

  merchandise purchased online, and sign up for an electronic emailer to receive exclusive online

  offers, benefits, invitations, and discounts for use online and in the physical stores, the Website is



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  an extension of and gateway to the physical stores, which are places of public accommodation

  pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website has a nexus to, and is a

  necessary service, privilege, and advantage of Defendant’s brick and mortar store that must comply

  with all requirements of the ADA, must not discriminate against individuals with visual

  disabilities, and must not deny those individuals the same full and equal access to and enjoyment

  of the goods, services, privileges, and advantages afforded to the non-visually disabled public both

  online and in the physical store.

         16.     Since the Website is open to the public through the internet, and acts as a critical

  point of sale of merchandise available in and from Defendant’s physical store, by this nexus the

  website is an necessary service, privilege and advantage of Defendant’s brick and mortar store that

  must comply with all requirements of the ADA, must not discriminate against individuals with

  visual disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the services, privileges, and advantages as afforded the non-visually disabled public

  both online and in the physical store. As such, Defendant has subjected itself and the Website to

  the requirements of the ADA. In addition, as a recipient of federal financial assistance to the

  company as a whole, Defendant has subjected itself and all of its operations, programs, and

  activities, including its Website, to the requirements, prohibitions, and anti-discrimination

  provisions of the Rehab Act.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers described herein are removed or

  remedied, Defendant’s physical store. In the alternative, Plaintiff intends to monitor the Website

  in the near future as a tester to ascertain whether it has been updated to interact properly with

  screen reader software.



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         18.     The opportunity to shop and pre-shop Defendant’s merchandise, purchase gift cards

  online, arrange in-store and curbside pickups, and sign up for an electronic emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use both online and in the physical

  stores from his home are important and necessary accommodations for Plaintiff because traveling

  outside of his home as a visually disabled individual is an often difficult, hazardous, frightening,

  frustrating, and confusing experience. Defendant has not provided its business information in any

  other digital format that is accessible for use by blind and visually impaired individuals using

  screen reader software.

         19.     Like many consumers, Plaintiff accesses numerous websites at a time to help plan

  his store visits, and to compare merchandise, services, prices, sales, discounts, and promotions.

  Plaintiff may look at several dozens of sites to compare merchandise, features, services, discounts,

  promotions, and prices.

         20.     Beginning in May 2021 and into March 2022, Plaintiff attempted on a number of

  occasions to utilize the Website to browse through the merchandise and online offers to educate

  himself as to the merchandise, sales, discounts, and promotions being offered, with the intent of

  making a purchase through the Website or at Defendant’s store.

         21.     Plaintiff utilizes screen reader software that allows individuals who are blind and

  visually disabled to communicate with websites. However, Defendant’s Website contains access

  barriers that prevent free and full use by blind and visually disabled individuals using keyboards

  and available screen reader software. These barriers are pervasive and include, but are not limited

  to:

                 a.      The company logo/return to home page button mislabeled;

                 b.      Promotional images on the slide show are not labeled to integrate with the
                         screen reader;


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                 c.      Some product size options are mislabeled (an example is nomad baby girl
                         romper, size is stated as “0-3M” and instead of saying “0-3 months”);

                 d.      Once an item is selected, the item price is inaccessible;

                 e.      Once sunglass, vans, and skate links were selected, the text stating “Sorry,
                         there are no products in this collection” is not labeled;

                 f.      Inside the shopping cart, the item size, color, price, and total are all
                         inaccessible;

                 g.      Once an item is removed from the shopping cart, there is no notification
                         that the action was executed;

                 h.      In the Contact Us link the store, address, telephone number and hours of
                         operation are not accessible.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

  on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as provided at the Website and in the

  physical store as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical store and to use the Website, but he



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  is unable to fully do so as he is unable to effectively communicate with Defendant due to his severe

  visual disability and the Website’s access barriers. Alternatively, as a tester using screen reader

  software, Plaintiff is unable to effectively access, navigate, and communicate with Defendant

  through the Website due to his severe visual disability and the Website’s access barriers. Thus,

  Plaintiff, as well as others who are blind and with visual disabilities, will suffer continuous and

  ongoing harm from Defendant’s intentional acts, omissions, policies, and practices as set forth

  herein unless properly enjoined by this Court.

          26.    Because the Website clearly provides support for and is directly connected with

  Defendant’s retail store for its operation and use, and thus is a necessary extension, service,

  privilege, and advantage of Defendant’s brick-and-mortar store for the purchase of Defendant’s

  merchandise, the Website must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  access to and enjoyment of the goods, services, privileges, advantages as are afforded the non-

  visually disabled public both online and in the physical store, which is a place of public

  accommodation subject to the requirements of the ADA. In addition, because Defendant is a

  recipient of federal funds as a whole, Defendant and all of its operations, programs, and activities,

  including the Website, are also subject to the requirements of the Rehab Act and must not exclude

  or discriminate against qualified or otherwise qualified individuals with visual disabilities such as

  Plaintiff.

          27.    On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.    On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.



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           29.     On information and belief, Defendant has not designated an employee as a Web

   Accessibility Coordinator to ensure full and equal use of the Website by individuals with

   disabilities.

           30.     On information and belief, Defendant has not instituted a Web Accessibility User

   Accessibility Testing Group to ensure full and equal use of the Website by individuals with

   disabilities.

           31.     On information and belief, Defendant has not instituted a User Accessibility

   Testing Group to ensure full and equal use of the Website by individuals with disabilities.

           32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

           33.     On information and belief, Defendant has not instituted an Automated Web

   Accessibility Testing program.

           34.     Defendant has not created and instituted a Specialized Customer Assistance line or

   service or email contact mode for customer assistance for the blind and visually disabled.

           35.     Defendant has not created and instituted on the Website a page for individuals with

   disabilities, nor displayed a link and information hotline, nor created an information portal

   explaining when and how Defendant will have the Website, applications, and digital assets

   accessible to the visually disabled and blind communities.

           36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

   2.0 Level AA or higher versions of web accessibility.

           37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to blind and visually disabled individuals who want

   the safety and privacy of purchasing Defendant’s merchandise offered on the Website online from

   their homes.



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          38.     Thus, Defendant has not provided full and equal access to, and enjoyment of, the

   goods, services, facilities, privileges, advantages, accommodations, programs, and activities

   provided by and through the Website in contravention of the ADA and the Rehab Act.

          39.     Further, public accommodations under the ADA must ensure that their places of

   public accommodation provide effective communication for all members of the general public,

   including individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act,

   public accommodations and companies that receive federal financial assistance must not

   discriminate against disabled persons and are required to make the facilities, programs, and

   activities they operate fully and readily accessible to persons with disabilities.

          40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping Websites, such as the Website at issue in the instant

   action. In addition, Congress enacted the Rehab Act to enforce the policy of the United States that

   all programs, projects and activities receiving federal assistance " ... be carried out in a manner

   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. §701(c)(3).

          41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website that prevent individuals with visual disabilities from the means

   to comprehend information presented therein.

          42.     Defendant is, and at all relevant times has been, aware of the need to provide full

   access to all visitors to the Website.

          43.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities such as Plaintiff.



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          44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with the Website’s access and operation.

          45.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

   pursuant to 28 U.S.C. §§2201 and 2202.

          47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                              COUNT I – VIOLATION OF THE ADA

          48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          49.     Defendant is a public accommodation under the ADA as defined within

   §12181(7)(E) and thus is subject to the ADA.

          50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s store,

   purchase merchandise that is also available for purchase in and from the physical store, purchase

   gift cards for use both online and in the physical store, arrange for in-store and curbside pickups

   of merchandise purchased online, and sign up for an emailer to receive exclusive online offers,

   benefits, invitations, and discounts for use both online and in the physical store. Further, the

   Website also serves to augment and facilitate Defendant’s physical store by providing the public

   information on the location of the store and by educating the public as to Defendant’s available

   products sold through the Website and in the physical store. The Website thus is necessary for



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   Plaintiff to fully enjoy and have access to all of the goods, services, privileges, and advantages

   being offered by Defendant both online and in the physical store.

          51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          54.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          55.     Because of the inaccessibility of the Website, individuals with visual disabilities

   are denied the full and equal enjoyment of and access to the goods, information, and services that



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   Defendant has made available to the public on its Website and in its physical store in violation of

   42 U.S.C. §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.

           56.     The Website was subsequently visited by Plaintiff’s expert in June 2021 and again

   in March 2022, and the expert determination was that the same access barriers that Plaintiff had

   initially encountered, as well as numerous additional access barriers, existed. Defendant thus has

   made insufficient changes to the Website to make it fully accessible to the blind and visually

   disabled such as Plaintiff. Defendant also has not disclosed to the public any intended audits,

   changes, or lawsuits to correct the inaccessibility of the Website to visually disabled individuals,

   nor has it posted on the Website an effective “accessibility” notice, statement, or policy to provide

   blind and visually disabled person such as Plaintiff with a viable alternative means to access and

   navigate the Website. Defendant thus has failed to make reasonable modifications in its policies,

   practices, or procedures when such modifications are necessary to afford goods, services, facilities,

   privileges, advantages, or accommodations to individuals with disabilities, in violation of 28

   C.F.R. §36.302. The lack of a viable and effective “accessibility” notice, policy, or statement and

   the numerous access barriers as alleged herein and as set forth in the Declaration of Plaintiff’s

   expert, Robert D. Moody, attached hereto as Composite Exhibit “B” and the contents of which are

   incorporated herein by reference, continue to render the Website not fully accessible to users who

   are blind and visually disabled, including Plaintiff.

           57.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           58.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.



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          59.     There are readily available, well-established guidelines on the internet for making

   websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

          60.     Defendant has violated the ADA – and continues to violate the ADA – by denying

   access to the Website by individuals, such as Plaintiff, with visual disabilities who require the

   assistance of interface with screen reader software to comprehend and access internet websites.

   These violations within the Website are ongoing.

          61.     The ADA requires that public accommodations and places of public

   accommodation ensure that communication is effective.

          62.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems.” Indeed, 28 C.F.R. §36.303(b)(2)

   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          63.     According to 28 C.F.R. §36.303©, public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).




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          64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          65.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          66.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website that is a necessary extension, service, privilege, and advantage of, and critical

   point of sale for, Defendant’s brick-and-mortar store, Plaintiff has suffered an injury in fact by

   being denied full access to and enjoyment of Defendant’s physical store.

          67.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303 to remedy the

   ongoing disability discrimination.

          68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a statement as to Defendant’s

   policy to ensure persons with visual disabilities have full and equal access to and enjoyment of the

   goods, services, facilities, privileges, advantages, and accommodations through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the

   Website’s being made readily accessible, provide an alternative method for individuals with visual



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   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical store and becoming informed of and purchasing

   Defendant’s merchandise online, and during that time period prior to the Website’s being designed

   to permit individuals with visual disabilities to effectively communicate, to provide an alternative

   method for individuals with visual disabilities to effectively communicate for such goods and

   services made available to the general public through the Website.

          69.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Website, and continue

                to monitor and update the Website on an ongoing basis, to remove barriers in order that

                individuals with visual disabilities can access, and continue to access, the Website and

                effectively communicate with the Website to the full extent required by Title III of the

                ADA;




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        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform




   1
                    or similar.

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                   all web content and services with ADA accessibility requirements and applicable

                   accessibility guidelines;

             I. An Order directing Defendant, by a date certain and at least once every three months

                   thereafter, to conduct automated accessibility tests of the Website to identify any

                   instances where the Website is no longer in conformance with the accessibility

                   requirements of the ADA and any applicable accessibility guidelines, and further

                   directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                   counsel for review;

             J. An Order directing Defendant, by a date certain, to make publicly available and directly

                   link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                   ensure the persons with disabilities have full and equal enjoyment of the Website and

                   shall accompany the public policy statement with an accessible means of submitting

                   accessibility questions and problems;

             K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

             L. Such other and further relief as the Court deems just and equitable.

                      COUNT II – VIOLATION OF THE REHABILITATION ACT

             70.      Plaintiff re-alleges paragraphs 1 through 47 and 56 through 59 as if set forth fully

   herein.

             71.      As more specifically set forth above, Defendant has violated the Rehab Act by

   failing to interface the Website with software utilized by blind and visually disabled individuals.

   Thus, Defendant has violated the following provisions either directly or through contractual,

   licensing, or other arrangements with respect to Plaintiff and other similarly situated individuals

   solely by reason of their disability:



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           a)      By excluding Plaintiff from participation in and denying him the benefits of or

   subjecting him to discrimination under any program or activity receiving federal financial

   assistance as a whole, Defendant has violated the Rehab Act;

           b)      Congress enacted the Rehab Act to enforce the policy of the United States that all

   programs, projects and activities receiving federal assistance “…be carried out in a manner

   consistent with the principles of…inclusion, integration and full participation of the individuals

   [with disabilities].” 29 U.S.C. Section 701 (c)(3);

           c)      Defendant is a recipient of federal financial assistance as a whole bringing it under

   the Rehab Act, which prohibits discrimination against qualified or otherwise qualified individuals

   in all of the recipient's "programs or activities";

           d)      Section 504 of the Rehab Act prohibits recipients of federal funding as a whole

   from discriminating against disabled persons and requires that their facilities, programs, and

   activities be readily accessible to persons with disabilities;

           e)      The Rehab Act defines "program or activity" as all of the operations of the entire

   corporation, partnership, or other private organization, or sole proprietorship that receives federal

   financial assistance as a whole. Defendant's Website and its content thus are a "program or activity"

   within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A);

           f)      Plaintiff was denied access to the Website solely by reason of his disability. This

   denial of access to Defendant's "program or activity" subjected Plaintiff to discrimination,

   excluded Plaintiff from participation in the program or activity, and denied Plaintiff the goods,

   benefits, and services of the Website, a service available to those persons who are not blind or

   visually disabled. As of this filing, the Website remains inaccessible to qualified or otherwise

   qualified persons with a visual disability such as Plaintiff;



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          g)      The international website standards organization, WC3, has published widely

   accepted guidelines (WCAG 2.0 and WCAG 2.1 AA) for making digital content accessible to

   individuals with disabilities. These guidelines have been endorsed the United States Department

   of Justice and by Federal courts and the United States Access Board; and

          h)      Defendant has engaged in unlawful practices in violation of the Rehab Act in

   connection with the operation of the Website. These practices include, but are not limited to,

   denying Plaintiff, an individual with a disability who, with or without reasonable modifications to

   the rules, policies, or practices, the removal of communication barriers, or the provision of

   auxiliary aids and services, meets the essential eligibility requirements for the receipt of services

   to participate in programs or activities provided by Defendant.

          72.     Defendant has acted with deliberate indifference to the applicable provisions of the

   Rehab Act as to the unlawful practices described herein because Defendant is fully aware of the

   inaccessible features of its Website and has failed to remediate the Website to make it equally

   accessible to persons with visual disabilities. Defendant knew that harm to a federally protected

   right was substantially likely to occur, yet it failed to act on that likelihood when it failed to

   remediate its Website. Defendant knew this, and on information and belief, a person with authority

   with Defendant to order the remediation of the Website made a deliberate choice not to remediate

   and to continue to offer the inaccessible Website to its customers and potential customers knowing

   that the Website was, and continues to be, inaccessible to the blind and visually disabled.

          73.     Plaintiff would like to be a customer at Defendant's brick-and-mortar store but

   before he goes to the store, he would like to determine what merchandise is available for his

   purchasing, what promotions are being offered, and what new items are currently available. In




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   that regard, Plaintiff continues to attempt to utilize the Website and/or plans to continue to attempt

   to utilize the Website on a regular basis to make selections for purchasing online or in the store.

          78.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

   that it would be a futile gesture to attempt to utilize the Website as long as those violations exist

   unless he is willing to suffer additional discrimination.

          79.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

   result of the discriminatory conditions present at the Website. By continuing to operate the Website

   with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

   segregation and deprives Plaintiff the full and equal enjoyment of the benefits of the programs and

   activities available to the general public. By encountering the discriminatory conditions at

   Defendant's Website and knowing that it would be a futile gesture to attempt to utilize the Website

   unless he is willing to endure additional discrimination, Plaintiff is deprived of the meaningful

   choice of freely visiting and utilizing the same stores or the Website readily available to the general

   public and is deterred and discouraged from doing so. By maintaining the Website with access

   and Rehab Act violations, Defendant deprives Plaintiff the equal access to and participation in the

   benefits of Defendant’s programs and activities as the non-visually disabled public.

          80.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

   of Defendant's discrimination until the Defendant is compelled to comply with the requirements

   of the Rehab Act.

          81.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

   from the Defendant's non-compliance with the Rehab Act with respect to this Website as described

   above. Plaintiff has reasonable grounds to believe that he will continue to be subjected to

   discrimination in violation of the Rehab Act by Defendant. Plaintiff desires to access the Website



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   to avail himself of the benefits therein and/or to assure himself that the Website is in compliance

   with the Rehab Act so that he and others similarly situated will have full and equal access to and

   enjoyment of the Website without fear of discrimination.

          82.     Plaintiff and all others similarly situated will continue to suffer such discrimination,

   injury, and damage without the immediate relief provided by the Rehab Act as requested herein.

          83.     Plaintiff is without adequate remedy at law and is suffering irreparable harm based

   on the facts alleged hereinabove.

          84.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

   fees, costs, and litigation expenses from the Defendant pursuant to the Rehab Act, 29 U.S.C. §794a.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A.      A declaration that determines that Defendant's Website at the commencement of

          the subject lawsuit is in violation of the Rehabilitation Act;

          B.      A declaration that Defendant's Website continues to be in violation of the

          Rehabilitation Act;

          C.      A declaration that Defendant has violated the Rehabilitation Act by failing to

          monitor and maintain its Website to ensure that it is readily accessible to and usable by

          persons with visual disabilities;

          D.      Issuance of an Order directing Defendant to alter its Website to make it accessible

          to, and useable by, individuals with visual disabilities to the full extent required by the

          Rehabilitation Act;




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          E.     Issuance of an Order directing Defendant to evaluate and neutralize its policies and

          procedures towards persons with disabilities for such reasonable time so as to allow

          Defendant to undertake and complete corrective and remedial procedures;

          F.     Issuance of an Order directing Defendant to continually update and maintain its

          Website to ensure that it remains fully accessible to and usable by visually disabled

          individuals;

          G.     Award Plaintiff his compensatory damages for Defendant’s intentional

   discrimination;

          H.     Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to 29

          U.S.C. §794a; and

          I.     Award such other relief as the Court deems just and proper, and/or is allowable

          under the Rehabilitation Act.



          DATED: March 21, 2022


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